Case 2:03-cr-00047-Z-BR         Document 1052         Filed 08/28/07       Page 1 of 18       FILED
                                                                                             PageID 3118
                                                                                      AUGUST 28, 2007
                                                                                        KAREN S. MITCHELL
                            IN THE UNITED STATES DISTRICT COURT                     CLERK, U.S. DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     AMARILLO DIVISION



   UNITED STATES OF AMERICA                          §
                                                     §
   v.                                                §           2:03-CR-0047 (03)
                                                     §
   JULIO CESAR JACOBO                                §



               REPORT AND RECOMMENDATION TO DENY, IN PART,
        DEFENDANT’S MOTION TO VACATE, SET ASIDE, OR CORRECT SENTENCE

          Came for consideration defendant JULIO CESAR JACOBO’s Motion Under 28 U.S.C. §

   2255 to Vacate, Set Aside or Correct Sentence by a Person in Federal Custody. For the reasons

   hereinafter expressed, the undersigned Magistrate Judge is of the opinion defendant is entitled to

   no relief and recommends the motion to vacate, set aside or correct sentence be DENIED except

   for defendant’s allegation of ineffective assistance of counsel as it relates to counsel’s alleged

   failure to file a direct appeal. An evidentiary hearing will be held on Thursday, September 6,

   2007 as to that claim.


                                             I.
                               FACTS AND PROCEDURAL HISTORY

          On April 29, 2003, defendant, in a seventeen-count indictment, was charged in four

   counts with the offenses of conspiracy to possess with intent to distribute methamphetamine,

   possession with intent to distribute methamphetamine, possession with intent to distribute a

   controlled substance near a school zone, and possession of a firearm in connection with a drug

   crime. On June 19, 2003, defendant pled guilty to the conspiracy count. On October 1, 2003,

   the District Judge sentenced defendant to a term of 292 months imprisonment and a 5-year term
Case 2:03-cr-00047-Z-BR                    Document 1052         Filed 08/28/07     Page 2 of 18     PageID 3119



   of supervised release. Defendant did not directly appeal his conviction or sentence.

                     On August 27, 2004, defendant filed the instant Motion Under 28 U.S.C. § 2255 to

   Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody. On October 12, 2004,

   the government filed its response in opposition to defendant’s motion to vacate. On November

   1, 2004, defendant filed a reply to the government’s response. On November 2, 2004, defendant

   filed a motion to file a supplemental pleading requesting leave to assert new grounds for relief.

   On November 17, 2004, defendant filed a memorandum in support of his proposed motion to

   supplement, as well as an appendix. On March 11, 2005, the government filed a response

   opposing defendant’s motion to file a supplement, as well as a response to the proposed

   supplementation. On April 7, 2005, defendant filed a reply to the government’s response.


                                                         II.
                                              DEFENDANT'S ALLEGATIONS

                     In his motion and accompanying memorandum, defendant raises the following grounds in

   support of his contention that his conviction and sentence were imposed in violation of the

   Constitution or laws of the United States:

                     1.       Defendant’s guilty plea was involuntary and unknowing, and unlawfully
                              induced, because trial counsel advised defendant he would receive, at
                              most, a 10-year sentence; and

                     2.       Counsel was ineffective for failing to:

                              a.     object to the quantity of drugs for which he was held responsible
                                     as a result of the conspiracy offense;

                              b.     object to the Base Offense Level utilized in the Presentence
                                     Report;

                              c.      object to the 2-point level enhancement for possession of a firearm
                                     in furtherance of drug trafficking;


   HAB55\R&R\jacobo-226:2/3
   2:04-CV-0226                                               Page 2
Case 2:03-cr-00047-Z-BR                   Document 1052         Filed 08/28/07       Page 3 of 18      PageID 3120



                              d.    object to the 3-point level enhancement for defendant serving in a
                                    managerial role in the conspiracy; and

                              e.    perfect a direct appeal on defendant’s behalf.


                                                        III.
                                             EFFECTIVENESS OF COUNSEL

                     Ordinarily, in order to prevail on a claim that he was denied his constitutional right to the

   effective assistance of counsel, a defendant must satisfy two requirements. "First, he would have

   to show that his attorney's conduct fell below an objective standard of reasonableness. Second,

   he would have to demonstrate a reasonable probability that he was prejudiced by his attorney's

   unprofessional errors." United States v. Green, 882 F.2d 999, 1002 (5th Cir. 1989); see also

   Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984). The question

   of whether a defendant has been subjected to ineffective assistance of counsel is a mixed

   question of fact and law. United States v. Rusmisel, 716 F.2d 301, 304 (5th Cir. 1983).

                     A showing that his attorney's conduct was deficient requires a "showing that counsel

   made errors so serious that counsel was not functioning as the `counsel' guaranteed the defendant

   by the Sixth Amendment." Strickland, 466 U.S. at 687. The performance inquiry must center on

   whether counsel's assistance was reasonable considering all the circumstances at the time of

   counsel's conduct. Id. at 688-690. As for the issue of prejudice, defendant must do more than

   simply allege prejudice, he must "affirmatively prove" prejudice. See Bonvillain v. Blackburn,

   780 F.2d 1248, 1253 (5th Cir.), cert. denied, 476 U.S. 1143 (1986) (Strickland, 466 U.S. at 693).

   In the context of a guilty plea, to prove prejudice a defendant “must show that there is a

   reasonable probability that, but for counsel’s errors, he would not have pleaded guilty and would

   have insisted on going to trial.” Hill v. Lockhart, 474 U.S. 52, 50 (1985).


   HAB55\R&R\jacobo-226:2/3
   2:04-CV-0226                                              Page 3
Case 2:03-cr-00047-Z-BR                   Document 1052        Filed 08/28/07       Page 4 of 18      PageID 3121




                                                    Voluntariness of Plea

                     Defendant alleges counsel informed him he “would only receive, [at] the most, 10 years”

   if he pled guilty to the conspiracy count. Defendant was sentenced to a term of approximately

   24 years. Defendant alleges his attorney “failed to inform [defendant] of the actual

   consequences of the plea.” Defendant concludes his conviction was thus “obtained by [a] plea of

   guilty which was unlawfully induced or not made with the understanding of the nature of the

   charge and the consequences of the plea.” In effect, defendant claims ineffective assistance of

   counsel, to wit: counsel’s erroneous statement regarding his sentencing exposure being limited to

   10 years, rendered his plea involuntary.

                     A guilty plea is "open to attack on the ground that counsel did not provide the defendant

   with 'reasonably competent advice." ' Cuyler v. Sullivan, 446 U.S. 335, 344, 100 S.Ct. 1708, 64

   L.Ed.2d 333 (1980) (quoting McMann v. Richardson, 397 U.S. 759, 770-71, 90 S.Ct. 1441, 25

   L.Ed.2d 763 (1970)). However, "an erroneous estimate by counsel as to the length of sentence"

   is not "necessarily indicative of ineffective assistance." Beckham v. Wainwright, 639 F.2d 262,

   265 (5th Cir. 1981). An attorney's "good faith but erroneous prediction of a sentence . . . does

   not render the guilty plea involuntary." Johnson v. Massey, 516 F.2d 1001, 1002 (5th Cir. 1975);

   accord United States v. Stumpf, 827 F.2d 1027, 1030 (5th Cir. 1987) ("a defendant's reliance on

   his attorney's erroneous prediction of leniency is not sufficient to render a guilty plea

   involuntary"). As noted in Daniel v. Cockrell, 283 F.3d 697, 703 (5th Cir.2002):

                     [a] guilty plea is not rendered involuntary by the defendant's mere subjective
                     understanding that he would receive a lesser sentence. In other words, if the
                     defendant's expectation of a lesser sentence did not result from a promise or
                     guarantee by the court, the prosecutor or defense counsel, the guilty plea stands.
                     Likewise, a guilty plea is not rendered involuntary because the defendant's

   HAB55\R&R\jacobo-226:2/3
   2:04-CV-0226                                             Page 4
Case 2:03-cr-00047-Z-BR                  Document 1052         Filed 08/28/07     Page 5 of 18      PageID 3122



                     misunderstanding was based on defense counsel's inaccurate prediction that a
                     lesser sentence would be imposed.

                     When a prisoner challenges his plea based on ineffective assistance of counsel, the

   “prejudice” requirement “focuses on whether counsel’s constitutionally ineffective performance

   affected the outcome of the plea process.” Hill, 474 U.S. at 58. As noted above, to satisfy this

   requirement in the plea context, the prisoner “must show that there is a reasonable probability

   that, but for counsel’s errors, he would not have pleaded guilty and would have insisted on going

   to trial.” Id. Even when an attorney erroneously estimates the defendant’s potential sentence,

   defendant must satisfy this requirement. United States v. Stumpf, 827 F.2d 1027, 1030 (5th Cir.

   1987). This Court must consider the totality of the evidence in assessing whether the result

   would likely have been different absent the alleged errors of counsel. Strickland, 466 U.S. at

   695-96.

   Here, defendant JACOBO alleges his attorney advised him he would not receive more than 10

   years if he pled when, in fact, he received approximately 24 years. Defendant has not submitted

   any affidavits to support his allegation that his trial counsel misadvised him as to the maximum

   sentence he could receive. In fact, defendant has not offered any independent proof to support

   this claim. Even though there is great disparity between counsel’s alleged erroneously estimated

   sentence and the actual sentence assessed, the defendant’s claims and his unsupported,

   conclusory statements are not sufficient to overcome his statements in open court.

                     First, the record shows defendant was aware his sentence would be ten years or more

   rather than “[at] the most, ten years.” The Factual Resume, which defendant signed, clearly

   stated defendant’s minimum penalty was “not less than ten years.” The Plea Agreement, signed

   by defendant, also stated defendant would be exposed to “imprisonment for a period not less

   HAB55\R&R\jacobo-226:2/3
   2:04-CV-0226                                             Page 5
Case 2:03-cr-00047-Z-BR         Document 1052         Filed 08/28/07      Page 6 of 18       PageID 3123



   than ten years.” (emphasis added). The Plea Agreement also noted the actual sentence

   defendant would receive would be within the discretion of the Court. At defendant’s June 19,

   2003 rearraignment, the Court again confirmed defendant understood his counsel could not tell

   him exactly what his guidelines would be. In the Presentence Report and again at sentencing,

   defendant was again advised that the offense with which he was charged was punishable by

   imprisonment for a period of not less than ten years. At the plea hearing, defendant was

   specifically advised that the count to which he was pleading guilty carried a minimum sentence

   of ten years and a maximum sentence of life imprisonment. Defendant stated he understood the

   available range of punishment. Defendant further stated he understood the charge against him,

   and stipulated to the truth and correctness of all the facts contained in the factual resume he

   signed. Defendant specifically stated no one made him any promises not contained within the

   plea agreement. Despite all of these specific admonitions from the Court, defendant persisted

   with his guilty plea. Consequently, regardless of what his attorney may have allegedly told him

   prior to his plea, defendant was advised through both the plea agreement and at the plea colloquy

   that the minimum sentence for the charged offense was ten years – a length more than the

   sentence defendant contends counsel advised him he would receive. That defendant “neither

   refused to enter his plea nor voiced any objection when confronted with this information

   precludes him from arguing that he pled guilty in reliance upon some alternative characterization

   of his exposure given to him by his counsel.” United States v. Bjorkman, 270 F.3d 482, 503 (7th

   Cir. 2001). Given that defendant knew the Court was charged with sentencing him within the

   statutory range of punishment of 10 years up to life imprisonment, that the plea agreement

   contained no promise of what the sentence would be, and that he swore in open court that there


   HAB55\R&R\jacobo-226:2/3
   2:04-CV-0226                                    Page 6
Case 2:03-cr-00047-Z-BR                  Document 1052         Filed 08/28/07      Page 7 of 18     PageID 3124



   were no promises outside the plea agreements, defendant’s claim is not credible and is without

   merit.

                     To the extent, if any, defendant claims his plea was rendered involuntary due to an

   unfulfilled promise by his counsel, such claim is also without merit. “[A] guilty plea may be

   invalid if induced by defense counsel’s unkept promises.” United States v. Cervantes, 132 F.3d

   1106, 1110 (5th Cir. 1998). When an alleged unfulfilled promise does not appear in the written

   plea agreement and such promise is inconsistent with representations made in open court, the

   defendant faces a heavy burden to obtain relief under section 2255 on a claimed involuntary

   plea. Id. To obtain relief under section 2255 “on the basis of alleged promises” that are

   inconsistent with representations made in open court at the time of the plea or with statements

   made in a signed court document, defendant must prove (1) the exact terms of the alleged

   promise, (2) exactly when, where, and by whom the promise was made, and (3) the precise

   identity of an eyewitness to the promise. Id.; see also Harmason v. Smith, 888 F.2d 1527, 1529

   (5th Cir. 1989). Defendant has not carried that burden. The Plea Agreement stated, “There have

   been no guarantees or promises from anyone as to what sentence the Court will impose.”

   Further, defendant claims the promise of a 10-year or less sentence occurred on the day of

   sentencing, but does not specify specifically when or where the alleged promise of ten years or

   less was made, nor has he identified an eyewitness to the promise. Again, as with his allegation

   of misadvice on the part of defense counsel, defendant has not submitted any affidavits to

   support his allegation that trial counsel promised him a 10-year or less sentence. Defendant has

   not offered any independent proof to support this claim. Not only is there no evidence in the

   record a promise was made to defendant he would receive a sentence of less than ten years, the


   HAB55\R&R\jacobo-226:2/3
   2:04-CV-0226                                             Page 7
Case 2:03-cr-00047-Z-BR                   Document 1052         Filed 08/28/07      Page 8 of 18      PageID 3125



   record directly refutes such a claim. Defendant’s first ground should be denied.

                                                      Quantity of Drugs

                     In the Indictment, defendant was charged with conspiring “to distribute and to possess

   with intent to distribute 500 grams or more of a mixture and substance containing a detectable

   amount of methamphetamine.” In the Factual Resume signed by defendant, defendant concurred

   that “the overall scope of the conspiracy involved at least 500 grams or more of a mixture and

   substance containing a detectable amount of methamphetamine.” At defendant’s June 19, 2003

   rearraignment, the United States District Judge also confirmed defendant was pleading guilty to

   conspiracy involving at least 500 grams or more of a mixture containing a detectable amount of

   methamphetamine and defendant JACOBO confirmed everything in the Factual Resume was

   true. Tr. 27.

                     In the PSI, it was noted that execution of a search warrant of a house utilized by

   defendant to process and store methamphetamine uncovered approximately 20 pounds of

   methamphetamine. According to DEA laboratory reports, 5,026.76 grams of methamphetamine

   (actual) were seized (the equivalent to 5.026 kilograms of methamphetamine (actual)). PSI at 7.



   At sentencing, defendant confirmed to the Court that he could not “think of anything at all that

   [was] not correct in the Presentence Report.” Tr. 30. The Court then proceeded to sentence

   defendant to 292 months imprisonment, a sentence at the bottom of the guideline range. The

   Court explained:

                     Now, your guidelines were 292 to 365 months. The Court has imposed a
                     sentence at the very bottom of the guidelines, but the sentence of 292 months is
                     justified because of the quantity of drugs you possessed, its purity level, and your
                     role in the offense. You also received enhancement for the possession of a

   HAB55\R&R\jacobo-226:2/3
   2:04-CV-0226                                              Page 8
Case 2:03-cr-00047-Z-BR                   Document 1052        Filed 08/28/07       Page 9 of 18     PageID 3126



                     firearm during commission of this offense.

                     And the Court has considered the fact that your — 292 months is a long time.
                     The Court’s considered that in setting your sentence at the bottom of the
                     guidelines.

   Tr. 26.

                     Defendant argues counsel was ineffective for failing to object to the quantity of drugs for

   which defendant was held accountable in the PSI. Defendant, however, has not identified any

   basis upon which counsel could have objected to the amount of drugs, nor has he demonstrated

   such an objection would have been successful or how such an objection would have changed his

   sentence. Defendant’s claim is conclusory and unsupported by any factual evidence or even

   clarified by argument. Conclusory allegations of deficient performance and prejudice are not

   sufficient to prove claims of ineffective assistance of counsel. Miller v. Johnson, 200 F.3d 274,

   282 (5th Cir. 2000).

                                                     Base Offense Level

                     In the PSI, defendant was held accountable for approximately 5,026 grams of d-

   methamphetamine (actual) and was attributed a base offense level of 38. Defendant argues

   counsel was ineffective for failing to object to this base offense level.

                     Again, in his original motion, defendant has not identified the basis on which counsel

   could have objected to the base offense level, nor has he demonstrated such an objection would

   have been successful or how such an objection would have changed his sentence. Defendant’s

   claim is conclusory and unsupported by any factual evidence or even clarified by argument.

   Conclusory allegations of deficient performance and prejudice are not sufficient to prove claims

   of ineffective assistance of counsel. Miller, 200 F.3d at 282.


   HAB55\R&R\jacobo-226:2/3
   2:04-CV-0226                                             Page 9
Case 2:03-cr-00047-Z-BR                 Document 1052        Filed 08/28/07     Page 10 of 18     PageID 3127



                                                   Gun Enhancement

                     In the Factual Resume, defendant acknowledged three (3) firearms were found in his

   residence. The PSI noted, pursuant to USSG § 2D1.1(b)(1), two (2) levels are added to the base

   offense level if a dangerous weapon (including a firearm) was possessed. The PSI , finding

   defendant had three (3) firearms located in his residence, added two points to defendant’s base

   offense level. Defendant argues counsel was deficient for failing to object to the 2-point

   enhancement for carrying a firearm during and in relation to a drug trafficking crime.

                     Again, defendant has not explained why he contends he should not have received the

   enhancement for possession of a firearm, nor has he identified the basis on which counsel should

   have objected to the gun enhancement. Defendant’s claim is conclusory and unsupported by any

   factual evidence or even clarified by argument. Conclusory allegations of deficient performance

   and prejudice are not sufficient to prove claims of ineffective assistance of counsel. Miller, 200

   F.3d at 282. Defendant’s ground should be denied.

                                             Managerial Role Enhancement

                     In the Factual Resume defendant conceded that he and two other co-defendants “were

   responsible for the processing, storage, and distribution of methamphetamine in Amarillo,

   Texas.” He also conceded he “oversaw the distribution of methamphetamine and the collection

   of drug proceeds in Amarillo, Texas.” At rearraignment, defendant testified everything in the

   Factual Resume was true. In the PSI, defendant’s offense level was increased by three (3) points

   for defendant’s involvement in the conspiracy as a “manager and/or supervisor.” Although the

   PSI found defendant was “extensively involved in the conspiracy,” it was noted defendant could

   not be considered an organizer or leader. Defendant argues counsel was ineffective for failing to


   HAB55\R&R\jacobo-226:2/3
   2:04-CV-0226                                           Page 10
Case 2:03-cr-00047-Z-BR                  Document 1052        Filed 08/28/07      Page 11 of 18      PageID 3128



   object to the 3-point enhancement for his managerial or supervisory role in the offense.

                     Again, however, defendant has not identified the basis on which counsel could have

   objected to the enhancement, nor has he demonstrated such an objection would have been

   successful or how such an objection would have changed his sentence. Defendant’s claim is

   conclusory and unsupported by any factual evidence or even clarified by argument. Conclusory

   allegations of deficient performance and prejudice are not sufficient to prove claims of

   ineffective assistance of counsel. Miller v. Johnson, 200 F.3d 274, 282 (5th Cir. 2000). This

   ground should be denied.

                                                   Failure to File Appeal

                     Defendant argues counsel was ineffective for failing to pursue a direct appeal on his

   behalf. Defendant claims he not only informed his attorney he wished to appeal but, at

   sentencing, specifically instructed counsel to file an appeal raising the issues set forth above.

   Defendant contends he did not waive his right to appeal as part of his plea agreement, was never

   informed he could not appeal his sentence and, in fact, specifically had the right to appeal his

   sentence under 18 U.S.C. § 3742(a). Defendant maintains he would have attempted to file an

   appeal on his own had he known counsel was not going to appeal on his behalf. Defendant

   argues he was prejudiced by counsel’s failure to file a notice of appeal because it “took from

   petitioner his post conviction right to an appeal.” Defendant concludes prejudice is presumed

   and that he does not have to specify what points he would have raised on appeal or show such

   points would likely have had merit because defense counsel denied defendant review of his case

   by a higher court by failing to perfect an appeal.

                     To demonstrate ineffective assistance of counsel based on a claim that counsel failed to


   HAB55\R&R\jacobo-226:2/3
   2:04-CV-0226                                            Page 11
Case 2:03-cr-00047-Z-BR                 Document 1052                Filed 08/28/07              Page 12 of 18             PageID 3129



   file a notice of appeal, a defendant must show that the failure to file fell below an objective

   standard of reasonableness and that it prejudiced the defendant. See Roe v. Flores-Ortega, 528

   U.S. 470, 484, 120 S.Ct. 1029, 145 L.Ed.2d 985 (2000). Failing to file a notice when requested

   to do so can constitute deficient performance. Id. at 477-78. As to prejudice, the defendant need

   not demonstrate that he would have been able to raise meritorious issues on appeal. Id. at 486.

   Rather, he must demonstrate only that there is a reasonable probability that, but for counsel's

   failure, he would have appealed. Id. Defense counsel, however, does not have a duty to perfect

   an appeal on behalf of a convicted defendant unless and until the defendant makes it known that

   he wants to appeal. Childs v. Collins, 995 F.2d 67, 69 (5th Cir. 1993). The decision to appeal or

   not appeal is that of the defendant, not defense counsel. Counsel will only be found to be

   deficient if he fails to follow the defendant’s express instructions with respect to an appeal. Roe

   v. Flores-Ortega, 528 U.S. 470, 478 (2000).1

                     On September 29, 2004, defendant’s trial counsel submitted an affidavit, sworn to and

   the truth of which was declared under penalty of perjury, wherein he averred, “Mr. Jacobo never

   expressed to me, in Spanish or English, a desire to appeal his conviction.”2 Defendant JACOBO

   claims, in his pleadings, that he requested his attorney file a notice of appeal on the date of his

   sentencing. The court records on file do not resolve this issue. Consequently, an evidentiary

   hearing will be held on Thursday, September 6, 2007 regarding this claim.


                     1
              “[F]ailure of counsel to timely file an appeal upon request of the defendant . . . would constitute ineffective assistance
   of counsel entitling the defendant to post-conviction relief in the form of an out-of-time appeal.” Barrientos v. United States,
   668 F.2d 838, 842 (5th Cir.1982).
                     2
              Defendant, in his reply, argues counsel’s statement in his affidavit that defendant did not advise him to appeal his
   “conviction” should not be considered as evidence refuting his claims because defendant never disputed the conviction, rather,
   he instructed counsel to appeal his “sentence.” The undersigned does not afford such significance to trial counsel’s choice of
   wording as an appeal would encompass a challenge to all aspects of the underlying proceeding, even if the grounds of error
   raised may attack only the sentence assessed as a result of the conviction.
   HAB55\R&R\jacobo-226:2/3
   2:04-CV-0226                                                   Page 12
Case 2:03-cr-00047-Z-BR                    Document 1052         Filed 08/28/07      Page 13 of 18        PageID 3130



                                                         IV.
                                                SUPPLEMENTAL PLEADING

                     In a motion to file a supplemental pleading filed November 2, 2004, after the

   government’s response to defendant’s motion to vacate had been filed, defendant sought leave to

   present three (3) new grounds, to wit:

                     1.       Defendant was unconstitutionally prosecuted on an information rather
                              than an indictment returned by a grand jury;

                     2.       The district court failed to inform defendant of his right to appeal and that
                              he would be afforded an attorney for that appeal if he desired as provided
                              in Rule 32(c)(5) of the Federal Rules of Criminal Procedure; and

                     3.       The indictment against defendant failed to allege a quantity of narcotics as
                              an element of the offense in violation of Apprendi v. New Jersey.

   In a memorandum of law in support of his motion to file the supplemental pleading, defendant

   also attempts to further expound on his original grounds and the above supplemental grounds by

   asserting:

                     1.       Counsel was ineffective for failing to object to the quantity and type of
                              methamphetamine involved in the conspiracy; and

                     2.       Counsel was ineffective for allowing defendant to plead guilty when the
                              indictment against defendant failed to allege a quantity of narcotics as an
                              element of the offense in violation of Apprendi v. New Jersey.


                                                   Information or Indictment

                     Defendant asserts he was unconstitutionally prosecuted on an information rather than an

   indictment returned by a grand jury. Defendant, however, was charged by indictment on April

   29, 2003 and pled guilty to count one of that indictment. Defendant’s argument is without merit

   and should be denied.



   HAB55\R&R\jacobo-226:2/3
   2:04-CV-0226                                               Page 13
Case 2:03-cr-00047-Z-BR                  Document 1052         Filed 08/28/07      Page 14 of 18      PageID 3131



                                                     Section 32 Advice

                     Defendant also appears to allege his conviction is unconstitutional because the district

   court failed to inform defendant, after sentencing, of his right to appeal his sentence and that he

   would be afforded an attorney for that appeal if he desired. See Fed. R. Crim. Proc. 32(j)(1)(B),

   (C). Defendant asserts he had no knowledge of his right to appeal, and that had the Court

   informed him of his appellate rights, he “would have most certainly pursued his appellate

   rights.” Defendant maintains the Court’s failure to advise him requires a vacatur of his sentence

                     The government concedes it does not appear the court informed defendant of his right to

   appeal his sentence. Even assuming a violation of Rule 32, however, the defendant is not

   necessarily entitled to collateral relief. Such a violation does not entitle a defendant to collateral

   relief unless the defendant can show he was prejudiced by the court’s failure to inform him of the

   right to appeal. Peguero v. United States, 526 U.S. 23, 27 (1999). If a defendant had

   independent knowledge of his right to appeal, there is no prejudice. Id. at 29-30.

                     It is clear defendant had independent knowledge of the right to appeal. In his original

   motion to vacate, defendant asserts counsel was ineffective for failing to appeal his sentence. In

   the memorandum to his original motion, defendant acknowledges he knew he had a right to

   appeal when he was sentenced, that he specifically requested counsel appeal his sentence, and

   that, had counsel told him he was not going to file an appeal, defendant would have filed it

   himself. See Memorandum, pp. 5-10. Clearly, defendant was aware he had a right to appeal his

   sentence and was not prejudiced by the Court’s failure to inform him of that right. Defendant is

   not entitled to relief on this ground .




   HAB55\R&R\jacobo-226:2/3
   2:04-CV-0226                                             Page 14
Case 2:03-cr-00047-Z-BR                  Document 1052         Filed 08/28/07      Page 15 of 18      PageID 3132



                                                          Apprendi

                     Defendant pled guilty to conspiracy to distribute and possess with intent to distribute 500

   grams or more of a mixture and substance containing a detectable amount of methamphetamine.

   Defendant contends his conviction is invalid because the indictment against him failed to allege

   a quantity of drugs as an element of the offense in violation of Apprendi v. New Jersey, 530 U.S.

   466 (2000). Defendant argues that under Apprendi, he could not be held responsible for more

   than 500 grams of methamphetamine because the indictment did not state a specific quantity of

   the drug. Defendant also asserts counsel was ineffective for allowing him to plead guilty when

   the indictment against defendant was in violation of Apprendi.

                     An indictment is sufficient to satisfy Apprendi when it alleges a drug quantity range, as

   opposed to a precise drug quantity. United States v. DeLeon, 247 F.3d 593, 597 (5th Cir. 2001).

   An indictment also satisfies Apprendi when it alleges a defendant possessed “more than” a

   certain amount of drugs, without an upper end to the range, if the lower end amount charged

   clearly identifies the applicable penalty for that quantity, and the sentence assessed is not in

   excess of the statutory maximum permitted by the statute. See United States v. Moreci, 283 F.3d

   293 (2002) (the identification of “over 50 kilograms” without an explicit upper range quantity in

   the indictment sufficiently alleged a drug quantity so as to avoid an Apprendi error).

                     Here, the indictment against defendant charged, and defendant admitted, responsibility

   for more than 500 grams of methamphetamine. Section 21 U.S.C. 841(b)(1)(A)(viii), the penalty

   enhancement statute applicable to this charged quantity of methamphetamine, provides for a

   maximum sentence of no more than life. Defendant’s sentence is within the range of punishment

   set forth in section 841(b)(1)(A)(viii). Apprendi is not applicable to defendant’s sentence.


   HAB55\R&R\jacobo-226:2/3
   2:04-CV-0226                                             Page 15
Case 2:03-cr-00047-Z-BR                 Document 1052         Filed 08/28/07     Page 16 of 18     PageID 3133



                     An objection, on the basis of Apprendi, to the amount of methamphetamine for which

   defendant was held responsible would have been frivolous. Consequently, counsel cannot be

   found deficient for failing to make such an objection. Defendant’s claims are without merit and

   should be denied.

                                         Quantity and Type of Methamphetamine

                     Defendant asserts his sentence should be vacated because counsel was ineffective for

   failing to object to the quantity and “type” of methamphetamine involved in the conspiracy.

   Defendant’s base offense was determined on his accountability for 5,026 grams of actual

   methamphetamine. Defendant appears to argue that since the indictment alleged the conspiracy

   involved “500 grams or more of a mixture and substance containing a detectable amount of

   methamphetamine,” his base offense level should have been determined on the “entire weight of

   the mixture or substance” rather than on the “weight of the methamphetamine (actual).”

   Defendant then makes the argument that his responsibility was limited to the 500 grams of a

   mixture alleged in the indictment, rather than based on the 20 pounds of methamphetamine

   seized from the residence utilized by defendant, thereby warranting a base offense level of 32

   rather than 38. That contention has previously been addressed.

                     As used in 21 U.S.C. 841(b)(1)(A)(viii), the “500 grams of methamphetamine” refers to

   500 grams “of the drug however it is found.” United States v. Frazier, 28 F.3d 99, 101 (11th Cir.

   1994). The amount of methamphetamine for which defendant was held responsible was 5,026

   grams of actual methamphetamine, an amount determined by an analysis of the 20 pounds of

   methamphetamine found at the residence utilized by defendant. Defendant has not demonstrated

   counsel could have validly objected to the use of the “actual” amount of drug as opposed to the


   HAB55\R&R\jacobo-226:2/3
   2:04-CV-0226                                            Page 16
Case 2:03-cr-00047-Z-BR                  Document 1052         Filed 08/28/07     Page 17 of 18       PageID 3134



   “mixture.” Moreover, defendant cannot show the use of the “mixture” quantity would have

   resulted in a lower base offense level as the offense level is to be determined using the “greater”

   of the mixture calculation or the actual calculation. Defendant has not proven deficient

   representation by his counsel. Defendant’s claim is without merit and should be denied.


                                                        V.
                                                  RECOMMENDATION

                     It is the RECOMMENDATION of the United States Magistrate Judge to the United

   States District Judge that motion to vacate filed by defendant JULIO CESAR JACOBO be

   DENIED except for defendant’s allegation of ineffective assistance of counsel as it relates to

   counsel’s alleged failure to file a direct appeal. This issue is scheduled for evidentiary hearing

   on Thursday, September 6, 2007.


                                                       VI.
                                             INSTRUCTIONS FOR SERVICE

                     The United States District Clerk is directed to send a copy of this Report and

   Recommendation to each party by the most efficient means available.

                     IT IS SO RECOMMENDED.

                     ENTERED this 28th day of August 2007.



                                                            ______________________________________
                                                            CLINTON E. AVERITTE
                                                            UNITED STATES MAGISTRATE JUDGE




   HAB55\R&R\jacobo-226:2/3
   2:04-CV-0226                                             Page 17
Case 2:03-cr-00047-Z-BR        Document 1052         Filed 08/28/07      Page 18 of 18       PageID 3135



                               * NOTICE OF RIGHT TO OBJECT *

           Any party may object to these proposed findings, conclusions and recommendation. In
   the event a party wishes to object, they are hereby NOTIFIED that the deadline for filing
   objections is eleven (11) days from the date of filing as indicated by the “entered” date directly
   above the signature line. Service is complete upon mailing, Fed. R. Civ. P. 5(b)(2)(B), or
   transmission by electronic means, Fed. R. Civ. P. 5(b)(2)(D). When service is made by mail or
   electronic means, three (3) days are added after the prescribed period. Fed. R. Civ. P. 6(e).
   Therefore, any objections must be filed on or before the fourteenth (14th) day after this
   recommendation is filed as indicated by the “entered” date. See 28 U.S.C. § 636(b); Fed. R.
   Civ. P. 72(b); R. 4(a)(1) of Miscellaneous Order No. 6, as authorized by Local Rule 3.1, Local
   Rules of the United States District Courts for the Northern District of Texas.

           Any such objections shall be made in a written pleading entitled “Objections to the
   Report and Recommendation.” Objecting parties shall file the written objections with the United
   States District Clerk and serve a copy of such objections on all other parties. A party’s failure to
   timely file written objections to the proposed findings, conclusions, and recommendation
   contained in this report shall bar an aggrieved party, except upon grounds of plain error, from
   attacking on appeal the unobjected-to proposed factual findings, legal conclusions, and
   recommendation set forth by the Magistrate Judge in this report and accepted by the district
   court. See Douglass v. United Services Auto. Ass’n, 79 F.3d 1415, 1428-29 (5th Cir. 1996);
   Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir. 1988).




   HAB55\R&R\jacobo-226:2/3
   2:04-CV-0226                                   Page 18
